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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

 THE SOUTH CAROLINA STATE
 CONFERENCE OF THE NAACP,

 and                                                Case No. 3:21-cv-03302-MGL-TJH-RMG

 TAIWAN SCOTT, on behalf of himself and all
 other similarly situated persons,                          THREE-JUDGE PANEL

                          Plaintiffs,

             v.

 THOMAS C. ALEXANDER, in his official
 capacity as President of the Senate; LUKE A.        MOTION FOR LEAVE TO SUBMIT
 RANKIN, in his official capacity as Chairman        DEPOSITION MATERIALS FOR IN
 of the Senate Judiciary Committee; JAMES H.               CAMERA REVIEW
 LUCAS, in his official capacity as Speaker of
 the House of Representatives; CHRIS
 MURPHY, in his official capacity as Chairman
 of the House of Representatives Judiciary
 Committee; WALLACE H. JORDAN, in his
 official capacity as Chairman of the House of
 Representatives Elections Law Subcommittee;
 HOWARD KNAPP, in his official capacity as
 interim Executive Director of the South
 Carolina State Election Commission; JOHN
 WELLS, Chair, JOANNE DAY,
 CLIFFORD J. EDLER, LINDA MCCALL,
 and SCOTT MOSELEY, in their official
 capacities as members of the South Carolina
 Election Commission,

                          Defendants.


       James H. Lucas (in his official capacity as Speaker of the South Carolina House of

Representatives), Chris Murphy (in his official capacity as Chairman of the South Carolina House

of Representatives Judiciary Committee), and Wallace H. Jordan (in his official capacity as

Chairman of the South Carolina House of Representatives Redistricting Ad Hoc Committee)



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(collectively, the “House Defendants”), by and through their undersigned counsel and with the

consent of Senate Defendants and Election Commission Defendants, respectfully request that this

Panel grant them leave to submit the exhibits associated with their upcoming Motion for Order

Confirming Confidentiality Designations directly to the Panel for in camera review. [See ECF No.

123 at ¶ 6(a)(2)]. As detailed below, Plaintiffs oppose the relief requested in this Motion.

       The grounds for this Motion are that later today, House Defendants will be filing a “Motion

for Order Confirming Confidentiality Designations of Deposition Transcripts and Exhibits,” which

will request that the Panel confirm tranches of confidentiality designations that Plaintiffs have

challenged within nine different deposition transcripts.1 Specifically, Plaintiffs have challenged

over 150 separate confidentiality designations within these transcripts, as well as the

confidentiality designations associated with 70 exhibits to these transcripts. House Defendants

respectfully submit that filing each portion of the challenged testimony, as well as each challenged

exhibit, under seal2 on the public docket would be unduly burdensome to counsel, the Clerk’s

Office and this Panel. Accordingly, good cause exists for granting the instant Motion.




1
  House Defendants submit that it is both efficient and appropriate to provide the relevant
transcripts in their entirely to the Panel so that the Panel can consider the designated portions of
these transcripts and exhibits in context. In aggregate, these depositions contain over 1,700 pages
of testimony, exclusive of supporting exhibits.
2
  As House Defendants seek to keep these documents and transcript excerpts confidential, they are
appropriate for in camera review—and so if they were filed on the public docket, they would have
to be filed under seal. The Panel has previously directed the parties to file documents for an in
camera review. [See ECF No. 221 at 2 (directing the delivery to the Panel of documents listed on
the parties’ privilege logs for an in camera review)]. On April 15, 2022, both the Plaintiffs and
House Defendants submitted letters on PACER [ECF Nos. 223 and 226], followed by ex parte
emails to the Panel with the documents at issue. However, the documents at issue on those privilege
logs were not nearly as voluminous as these deposition transcripts and exhibits, and therefore they
could be emailed to Chambers. The file size of the current documents at issue would prohibit
transmission by email and would be extremely burdensome on the Panel if they were filed under
seal.


                                                 2
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        Prior to filing this Motion, and in accordance with Local Civil Rule 7.02 (D.S.C.), counsel

for House Defendants conferred with counsel for Plaintiffs, Senate Defendants, and Election

Commission Defendants, and counsel for the Senate Defendants and Election Commission

Defendants have confirmed that those parties consent to the relief requested herein.

        Astonishingly, counsel for Plaintiffs have taken the position that Plaintiffs will not consent

to the filing of these materials in any manner other than a public filing on the docket.3 This position

is in direct violation of the Confidentiality Order, specifically Paragraphs 6(a) and 8(c). [ECF No.

123 at ¶ 6(a) (“In the event a party seeks to file any material that is subject to protection under this

Order with the court, that party shall take appropriate action to ensure that the documents receive

proper protection from public disclosure including: . . . (2) where appropriate (e.g. in relation to

discovery and evidentiary motions), submitting the documents solely for in camera review; . . .”);

see also id. at ¶ 8(c)(3)4 (providing that notwithstanding a challenge to confidentiality designations,

all material previously designated as confidential shall continue to be treated as such until the


3
  Counsel for House Defendants first raised this issue during a telephone call on Friday, July 29,
2022 with a representative of Plaintiffs’ counsel. On that call, House Defendants’ counsel was
informed that House Defendants’ counsel could expect to hear from Plaintiffs’ counsel’s lead
spokesperson on this issue later that day. No such communication occurred, so House Defendants’
counsel inquired and was told to expect a call from Plaintiffs’ counsel’s spokesperson on the
morning of August 1, 2022. Plaintiffs’ counsel’s lead spokesperson then sent an email asking if
the matter could wait until Tuesday, August 2, 2022; however, House Defendants’ counsel
responded that the issue could not wait as the deadline for House Defendants to move for an Order
confirming certain confidentiality designations was today, August 1, 2022. House Defendants then
circulated a proposed consent Motion prior to the expected 10:30 a.m. call with Plaintiffs’ lead
spokesperson. During that call, Plaintiffs’ counsel advised that Plaintiffs would not consent to an
in camera review of the relevant transcripts and exhibits, as they believed these documents should
be filed on the public docket. As noted earlier, this position does not comport with the express
provisions of the existing Confidentiality Order, which tracks this District’s form order and was
issued with the consent of all parties. Despite raising this issue with Plaintiffs’ counsel, they have
stood by their position that these materials should be filed publicly on the docket.
4
 Paragraphs 8(c)(1) and (2) are not at issue because House Defendants have not withdrawn their
confidentiality designations and will be timely moving for an Order confirming the designations.


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Court rules that the documents should no longer be designated as confidential); Flaherty-Ortega

v. Horry Cnty., S.C., No. CV 1:21-2866-RMG-SVH, 2021 WL 5495362 (D.S.C. Nov. 23, 2021)

(interpreting a confidentiality order containing nearly identical provisions); Bowen v. Adidas Am.,

Inc., No. CV 3:18-3118-JFA, 2021 WL 7367117, at *1 (D.S.C. June 7, 2021) (materials were

submitted to the Court for in camera review in conjunction with the defendant’s motion seeking

to confirm confidentiality designations)].

       Based on the foregoing, House Defendants respectfully request that the Panel grant them

leave to submit these deposition materials directly5 to the Panel for in camera review after their

Motion for Order Confirming Confidentiality Designations of Deposition Transcripts and Exhibits

is filed. House Defendants also respectfully request that the Court issue an Order directing

Plaintiffs to file an expedited response to this Motion.



                                     [signature page follows]




5
 House Defendants intend to hand deliver separate flash drives to Judge Lewis’s and Judge
Gergel’s Chambers in South Carolina, and also intend to mail a flash drive to Judge Heytens’s
Chambers in Virginia containing .zip files of the transcripts and the challenged exhibits. House
Defendants respectfully submit that this suggested procedure will be the most efficient method of
delivering these materials to the Panel. If the Panel has a different preference, House Defendants
will of course proceed as instructed by the Panel.


                                                  4
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                                    Respectfully submitted,

                                    s/ Mark C. Moore
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 August 1, 2022                     Attorneys for James H. Lucas, Chris Murphy,
 Columbia, South Carolina           and Wallace H. Jordan




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